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                         UNITED STATES BANKRUPTCY COURT
                                     FOR THE
                          WESTERN DISTRICT OF KENTUCKY

      IN RE:                                    )
                                                )
      CENTRAL KENTUCKY GRAIN, LLC               )                   CASE NO. 23-32460
            Debtor                              )                   Chapter 7
      _________________________________________ )

                     ORDER AUTHORIZING SALE BY
          AUCTION THE REAL PROPERTY, FIXTURES, AND OTHER
       IMPROVEMENTS LOCATED AT 101 BOURBON DRIVE, LEBANON,
          KENTUCKY FREE OF ALL LIENS, INTERESTS OF LESSORS,
      THE RIGHT OF FIRST REFUSAL OF MARION COUNTY INDUSTRIAL
        FOUNDATION, INC., AND OTHER ENCUMBRANCES WITH LIENS
       AND ENCUMBRANCES ATTACHING TO THE PROCEEDS AND FOR
              OTHER RELIEF AS SET FORTH IN THIS MOTION
               The Court having heard the motion of Wm. Stephen Reisz, trustee of the
      bankruptcy estate of Central Kentucky Grain, LLC (“Trustee”) for authority to sell
      by absolute auction the real property, fixtures, and other improvements, both owned
      property and leased property, at 101 Bourbon Drive, Lebanon, Kentucky (“Owned
      & Leased Property”) free of all liens, interests of lessors, and other encumbrances
      and to pay the proceeds to lessors and secured creditors (including real estate tax
      creditors) in the priority of their lease and secured claims as set out, and under the
      terms in this motion which include a carveout provided by the auctioneer and the
      second lienholder [DN 34]; and the limited objection of the Marion County
      Industrial Foundation, Inc. (“MCIF”); and the Court being otherwise sufficiently
      advised,

               IT IS HEREBY ORDERED that Trustee’s motion is granted, except as
      modified by this Order, and he is authorized to sell by auction, in the manner set
      forth in his motion, the real property, fixtures, and other improvements, both owned
      property and leased property, at 101 Bourbon Drive, Lebanon, Kentucky (“Owned
      & Leased Property”) free of all liens, interests of lessors, and other encumbrances,
      including specifically but without limitation the Mortgage and leasehold interest of
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      Farm Credit Leasing Services Corporation, the security interest of Superior Ag
      Resources Cooperative, Inc.; but subject only to the right of first refusal (“ROFR”)
      of MCIF as provided in this Order.

             IT IS FURTHER ORDERED that MCIF may exercise its ROFR only
      within 2 ½ hours of the last bid on the properties subject to its ROFR; and that if
      the ROFR is not excerised within that time it shall be void.

             IT IS FURTHER ORDERED that if MCIF exercises its ROFR it shall be
      responsible for the obligations of the high bidder, including timing of the real estate
      closing and payment of the buyers premium.

             IT IS FURTHER ORDERED that except for the MCIF ROFR the auction
      sale be absolute and free of all liens, interests of lessors, and other encumbrances.

             IT IS FURTHER ORDERED that Trustee is authorized to pay the proceeds
      to lessors and secured creditors (including real estate tax creditors) in the priority
      of their lease and secured claims as set out, and under the terms in this motion which
      include a carveout provided by the auctioneer and the second lienholder.




      Tendered By:
      Wm. Stephen Reisz, trustee                             Dated: July 23, 2024
      401 W. Main St., Ste 1400
      Louisville, KY 40202
      (502)584-1000
      Agreed To:
      /s/ James R. Irving ____
      James R. Irving
      DENTONS BINGHAM GREENEBAUM LLP
      3500 PNC Tower
      101 South Fifth Street
      Louisville, Kentucky 40202
      Telephone: (502) 587-3606
      Counsel for Superior Ag Resources Cooperative, Inc.
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      /s/ Stephen Barnes ____
      Stephen Barnes
      Walther, Gay & Mack, PLC
      163 E. Main Street, Ste 200
      PO Box 1598
      Lexington, KY 40588-1598
      (859) 685-1188
      Counsel for Marion County Industrial Foundation

      Farm Credit Leasing Services Corporation
      By: ___________________________
      Its ______________


      Have Seen – No Objection

      /s/ Dean A. Langdon ____
      Dean A. Langdon
      Heather M. Thacker
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      Lori Boone
      Mark Boone
      Boone Farms Trucking, Inc.
      Daniel Hamilton
